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           Attorney for Debora Leigh Miller-Zuranich
       6
       7
                                       UNITED STATES BANKRUPTCY COURT
       8
       9
                                        EASTERN DISTRICT OF CALIFORNIA
      10
      11
                 In re:                                     Case No. 2019-21640
      12
      13
                 Debora Leigh Miller-Zuranich               DCN: PLC-08
      14
      15
                                            , Debtors       Hearing Date: November 5, 2019
      16
                                                            Hearing Time: 9:30 AM
      17
                                                            Hon. Christopher D. Jaime
      18
                                                            Courtroom 32 - Dept B
      19
      20
            DECLARATION OF PETER CIANCHETTA IN SUPPORT OF MOTION TO RECONSIDER
      21
                                 HEARING ON MOTION TO CONVERT TO CHAPTER 7
      22
      23             I, Peter Cianchetta, herein declare that the matters set forth in this declaration are true
      24   to my own knowledge and, if called upon to do so, I could and would competently testify to
      25   them.
      26   1.        I am a licensed attorney and member of the California State Bar. I became licensed
      27             before the California State Bar in 2002.
      28


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       1   2.    I spoke with Jonathan Cahill, Counsel for OCRE Investment Fund 1 LLC on or about
       2         October 3 or 4, 2019 regarding the Motion to Convert.
       3   3.    During that conversation Mr. Cahill told me that the Courtroom deputy or law clerk
       4         called him and told him the motion would be moved to October 22, 2019.
       5   4.    Relying on this representation, I did not prepare a written response to the motion to
       6         convert.
       7   5.    Mr. Feliciano, an associate with my firm appeared on the October 8 hearing and was
       8         caught off guard regarding the motion to convert because when we discussed the case
       9         prior to his appearance, we did not go over the possibility that the Conversion Motion
      10         would be heard. I told him the motion to convert was moved to October 22, 2019.
      11
      12         I declare under penalty of perjury the forgoing is true and correct, executed at Elk
      13         Grove, California on October 21, 2019.
      14
                                                                    /s/ Peter Cianchetta
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                                                                    Peter Cianchetta
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